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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )           4:08CR3142
                                               )
                      Plaintiff,               )
                                               )
       vs.                                     )
                                               )           ORDER
WILLIE LEE STURGIS,                            )
                                               )
                      Defendant.               )

       IT IS ORDERED that:


       (1)     The government’s request for hearing is granted.


       (2)     A hearing on the government’s motion for reduction of sentence pursuant to
Rule 35(b) (filings 170 and 187) has been set before the undersigned United States district
judge on Tuesday, September 11, 2012, at 12:00 noon, in Courtroom No. 2, United States
Courthouse and Federal Building, 100 Centennial Mall North, Lincoln, Nebraska.


       (3)     The United States Marshal is directed to return the defendant to the district for
the hearing.


       Dated July 23, 2012.


                                            BY THE COURT:

                                            Richard G. Kopf
                                            Senior United States District Judge
